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              In Re: Kylea K.E2017-02097-COA-R3-PTAuthoring Judge: Judge Brandon O. GibsonTrial Court Judge: Judge John C. RamboThis appeal involves the termination of a father’s parental rights. The trial court found that grounds existed to terminate parental rights based on a prior adjudication of severe child abuse and abandonment by willful failure to visit and support. The trial court also found, by clear and convincing evidence, that termination was in the best interest of the child. The father appeals. We vacate the trial court’s finding regarding one ground for termination but otherwise affirm the order terminating parental rights            
                      
              Washington County            
                      
              Court of Appeals             
                      
              06/21/18            
                      
                          
                      
                          
                  
                        
                      
              Donald Douglas Wright v. Angel Sims Wright M2018-00792-COA-R3-CVAuthoring Judge: Presiding Judge Frank G. Clement, Jr. Trial Court Judge: Judge Philip E. Robinson The appellant has filed a notice of appeal from an order denying her motion to alter or amend. Because the motion to alter or amend was not timely filed and the court has already dismissed the appellant’s prior appeal from the underlying judgment as untimely, we dismiss the appeal for lack of jurisdiction.            
                      
              Davidson County            
                      
              Court of Appeals             
                      
              06/21/18            
                      
                          
                      
                          
                  
                        
                      
              In Re:  Kylea K. E2017-02097-COA-R3-PTAuthoring Judge: Judge Brandon O. GibsonTrial Court Judge: Judge John C. RamboThis appeal involves the termination of a father’s parental rights. The trial court found that grounds existed to terminate parental rights based on a prior adjudication of severe child abuse and abandonment by willful failure to visit and support. The trial court also found, by clear and convincing evidence, that termination was in the best interest of the child. The father appeals. We vacate the trial court’s finding regarding one ground for termination but otherwise affirm the order terminating parental rights.            
                      
              Washington County            
                      
              Court of Appeals             
                      
              06/21/18            
                      
                          
                      
                          
                  
                        
                      
              In Re:  Estate Of Andrew Thomas Peery, Jr.E2017-00603-COA-R3-CVAuthoring Judge: Judge John W. McClartyTrial Court Judge: Judge Michael A. Gallegos The brother of a decedent filed a petition to admit to probate a purported holographic will. The decedent’s widow protested. After a hearing, the trial court ruled that the document was not a holographic will and that the decedent had died intestate. The brother appeals. We affirm.&nbsp;            
                      
              Blount County            
                      
              Court of Appeals             
                      
              06/21/18            
                      
                          
                      
                          
                  
                        
                      
              In Re Estate of Alys Harris LipscombW2016-00881-COA-R3-CVAuthoring Judge: Judge John W. McClartyTrial Court Judge: Judge Karen D. WebsterThe administrator of an estate appeals the trial court’s award of attorney fees to a beneficiary in a contempt action filed by him against the beneficiary. We reverse, holding that the trial court abused its discretion in its award of attorney fees because the fees awarded did not inure to the benefit of the estate.            
                      
              Shelby County            
                      
              Court of Appeals             
                      
              06/21/18            
                      
                          
                      
                          
                  
                        
                      
              Gillis Elliot v. Mike Robbins, Et Al. E2017-01440-COA-R3-CVAuthoring Judge: Judge John W. McClartyTrial Court Judge: Judge Elizabeth C. AsburyThis appeal arises from an action where the plaintiff sought to reform a deed that did not transfer a disputed acre of property to him. The plaintiff alleged that a mutual mistake had occurred and that both plaintiff and defendants had intended for the disputed acre to be sold. The trial court held that the mutual mistake existed and that the error was clear and convincing enough to allow for reformation of the deed. The defendants appeal. We affirm the decision of the trial court.            
                      
              Claiborne County            
                      
              Court of Appeals             
                      
              06/21/18            
                      
                          
                      
                          
                  
                        
                      
              In Re Seth Mc. Et Al. M2017-02562-COA-R3-PTAuthoring Judge: Judge Andy D. BennettTrial Court Judge: Judge Michael Meise A mother of four children had her parental rights terminated based on the grounds of abandonment by failure to support, abandonment by failure to provide a suitable home, abandonment by wanton disregard, substantial noncompliance with permanency plans, severe child abuse, and persistence of conditions. Mother appealed the trial court’s judgment. We affirm the termination of her rights as to all grounds other than abandonment by failure to support, abandonment by failure to provide a suitable home, and persistence of conditions.            
                      
              Dickson County            
                      
              Court of Appeals             
                      
              06/20/18            
                      
                          
                      
                          
                  
                        
                      
              Angela Michelle Newberry v. Jeremy Mack NewberryE2017-00340-COA-R3-CVAuthoring Judge: Judge Charles D. Susano, Jr.Trial Court Judge: Judge W. Neil Thomas, IIIIn this post-divorce case, Angela Michelle Newberry appeals the trial court’s modification of the permanent parenting plan. She challenges the trial court’s decision to change the designation of primary residential parent from her to her former spouse, Jeremy Mack Newberry. She also attacks the court’s decree reducing her co-parenting time. We hold that father failed to meet his burden of establishing a material change in circumstances affecting the children’s well-being, as required by Tenn. Code Ann. § 36- 6-101(a)(2)(B) (2017). Consequently, we reverse the trial court’s judgment and reinstate the parenting plan as originally agreed to by the parties and ordered by the court in the final divorce judgment.            
                      
              Hamilton County            
                      
              Court of Appeals             
                      
              06/20/18            
                      
                          
                      
                          
                  
                        
                      
              In Re:  Amynn K.E2017-01866-COA-R3-PTAuthoring Judge: Judge Thomas R. Frierson, IITrial Court Judge: Judge Robert D. PhilyawThis is a termination of parental rights case involving the parental rights of the father, William K. (“Father”), to his minor child, Amynn K. (“the Child”), who was four years of age at the time of trial. The Child was born in 2013 to Father and Amanda S. (“Mother”). In April 2013, the Hamilton County Juvenile Court (“trial court”) granted temporary legal custody of the Child to the Tennessee Department of Children’s Services (“DCS”). The Child was immediately placed in foster care, where he has remained since that date. Following a hearing, the trial court entered an order on June 24, 2013, adjudicating the Child dependent and neglected due to Mother’s abandonment of the Child at the hospital following his birth. On August 23, 2016, DCS filed a petition to terminate the parental rights of Mother and Father. Following a bench trial, the trial court terminated Father’s parental rights to the Child upon determining by clear and convincing evidence that Father had (1) abandoned the Child through conduct exhibiting wanton disregard for the welfare of the Child prior to Father’s incarceration, (2) failed to substantially comply with the requirements of the permanency plans, and (3) failed to manifest an ability and willingness to personally assume custody of and financial responsibility for the Child. The court also found clear and convincing evidence that termination of Father’s parental rights was in the best interest of the Child. Father has appealed. Discerning no reversible error, we affirm.            
                      
              Hamilton County            
                      
              Court of Appeals             
                      
              06/20/18            
                      
                          
                      
                          
                  
                        
                      
              In Re Aden H. M2017-01453-COA-R3-PTAuthoring Judge: Judge Richard H. Dinkins Trial Court Judge: Judge Joe H. Thompson The mother and step-father of a child appeal the denial of their Petition to Terminate the Parental Rights of the father of the child on the grounds of abandonment by failure to support. Upon a thorough review of the record, we affirm the judgment of the trial court.            
                      
              Sumner County            
                      
              Court of Appeals             
                      
              06/19/18            
                      
                          
                      
                          
                  
                        
                      
              In Re Audrey T. M2016-02443-COA-R3-JVAuthoring Judge: Judge Richard H. DinkinsTrial Court Judge: Chancellor Ronald Thurman In this post-divorce proceeding, Father appeals the reduction of his parenting time. Because he has failed to include a transcript or statement of the evidence in accordance with Rule 24 of the Tennessee Rules of Appellate Procedure, we presume that the evidentiary record supports the trial Court’s decision. Accordingly, we affirm the judgment.            
                      
              Putnam County            
                      
              Court of Appeals             
                      
              06/18/18            
                      
                          
                      
                          
                  
                        
                      
              Betty Jo Goodman v. Nationstar Mortgage, LLC, Et Al. M2017-01407-COA-R3-CVAuthoring Judge: Judge Andy D. BennettTrial Court Judge: Judge Robert L. JonesA borrower filed a pro se petition against a mortgage company and law firm seeking to enjoin a foreclosure sale. The trial court issued the injunction but, upon motion of the mortgage company and law firm, set aside the order granting injunctive relief after finding the order void. The trial court also found that the borrower’s petition failed to state a claim and dismissed the action. We vacate in part and affirm in part.&nbsp; &nbsp;&nbsp;            
                      
              Maury County            
                      
              Court of Appeals             
                      
              06/18/18            
                      
                          
                      
                          
                  
                        
                      
              In Re:  Dakota M. Et Al. E2017-01855-COA-R3-PTAuthoring Judge: Judge Richard H. DinkinsTrial Court Judge: Judge Henry E. SledgeFather’s rights to his son were terminated based upon his stipulation that the Department of Children’s Services could prove that grounds to terminate existed and upon the Court’s conclusion that termination was in the child’s best interest. Father appeals. Upon our review, we conclude that Father’s stipulation that the evidence satisfied the statutory grounds for termination was a nullity. We also conclude that the trial court’s order does not contain adequate factual findings with respect to the grounds for termination to provide for a meaningful review. Accordingly, we vacate the judgment of the court and remand the case.            
                      
              Loudon County            
                      
              Court of Appeals             
                      
              06/18/18            
                      
                          
                      
                          
                  
                        
                      
              In Re:  D.T.E2017-02098-COA-R3-PTAuthoring Judge: Judge Charles D. Susano, Jr.Trial Court Judge: Judge Daniel R. SwaffordIn this termination of parental rights case, the Department of Children’s Services filed a petition to terminate the rights of R.T. with respect to his child, D.T.1 At trial, DCS alleged a single ground for termination: persistence of conditions. The court found clear and convincing evidence. By the same quantum of proof, the court also found that termination is in the child’s best interest. Father appeals. We affirm.            
                      
              Bradley County            
                      
              Court of Appeals             
                      
              06/18/18            
                      
                          
                      
                          
                  
                        
                      
              Desiree Daniels Disterdick v. John DisterdickE2017-00743-COA-R3-CVAuthoring Judge: Judge Thomas R. Frierson, IITrial Court Judge: Judge L. Marie WilliamsIn this divorce action presenting issues concerning the classification and distribution of the parties’ assets, the trial court determined that an oil and gas investment purchased during the marriage was the wife’s separate property, as was her engagement ring. The trial court fashioned an equitable distribution of the parties’ marital property and debts and denied the wife’s claim for alimony. In doing so, the trial court excluded any consideration of assets formerly owned by the parties that were held by a trust at the time of trial. The husband has appealed. Discerning no error, we affirm.            
                      
              Hamilton County            
                      
              Court of Appeals             
                      
              06/18/18            
                      
                          
                      
                          
                  
                        
                      
              Cindy Terry v. Jackson-Madison County General Hospital DistrictW2017-00984-COA-R3-CVAuthoring Judge: Judge Arnold B. GoldinTrial Court Judge: Judge Kyle AtkinsA medical product sales representative brought suit against her former employer, a hospital, claiming retaliation in violation of the Tennessee Human Rights Act. After a bench trial, the trial court judge entered a verdict in favor of the hospital, having concluded that the employee failed to carry her burden of proof. In spite of dismissing the employee’s case, the trial court awarded the employee a portion of her attorney’s fees as “sanctions” against the hospital for making an allegedly late-filed motion to strike the employee’s demand for a jury trial, which the trial court granted. We affirm the trial court’s dismissal of the employee’s retaliation claim, and we reverse the trial court’s order granting the employee attorney’s fees.            
                      
              Madison County            
                      
              Court of Appeals             
                      
              06/15/18            
                      
                          
                      
                          
                  
                        
                      
              In Re K. O. Et Al. M2017-01736-COA-R3-PTAuthoring Judge: Judge Charles D. Susano, Jr. Trial Court Judge: Judge Micheal Collins The trial court terminated the parental rights of A.D.G. to her children, K.O. and K.G. Because the court did not “make[] specific findings of fact and conclusions of law,” Tenn. Code Ann. § 36-1-113(k) (2017), we remand the case to the trial court for the entry of an appropriate order.            
                      
              Smith County            
                      
              Court of Appeals             
                      
              06/14/18            
                      
                          
                      
                          
                  
                        
                      
              Alexander Alaka v. Short Cut Auto Sales &amp; Repairs, Inc. M2017-01577-COA-R3-CVAuthoring Judge: Judge John W. McClartyTrial Court Judge: Judge Hamilton V. Gayden, Jr. The plaintiff appeals the circuit court’s judgment for damages sustained to his vehicle, a reduction from the amount awarded in general sessions court. We vacate the final order and remand for entry of an order that sets forth sufficient findings of fact and conclusions of law in support of the circuit court’s decision.&nbsp;&nbsp;            
                      
              Davidson County            
                      
              Court of Appeals             
                      
              06/13/18            
                      
                          
                      
                          
                  
                        
                      
              Homeowners of Ash Grove Estates v. Carla Hurley, et al.M2016-02008-COA-R3-CVAuthoring Judge: Judge Richard H. Dinkins Trial Court Judge: Judge Joe H. Thompson This appeal arises out of a suit to enforce restrictive covenants. Plaintiffs filed suit seeking an injunction to prevent their neighbors from operating a commercial horse facility. After a hearing, the court permanently enjoined Defendants from using or allowing their property to be used for a commercial horse operation and from constructing any additional buildings before they built a residence on the property. The trial court also ruled that Defendants did not have to remove or relocate the already-constructed “run-in shed” at this time, but that once a residence is built, the shed must be removed or moved to the rear of the residence. Defendants appeal. Upon our review, we reverse the judgment enjoining Defendants from conducting a commercial horse operation; in all other respects we affirm the judgment of the trial court.&nbsp;&nbsp;            
                      
              Sumner County            
                      
              Court of Appeals             
                      
              06/13/18            
                      
                          
                      
                          
                  
                        
                      
              In Re Emmalee O., et al.E2017-01605-COA-R3-JVAuthoring Judge: Judge John W. McClartyTrial Court Judge: Judge Gregory S. McMillanThis appeal involves the issue of past child sexual abuse by a parent. After the original trial de novo, the father was found guilty of severe child abuse and was enjoined from contact with the child and another daughter. A prior appeal resulted in an affirmance of the trial court’s finding. In re Emmalee O., 464 S.W.3d 311 (Tenn. Ct. App. 2015). After permission to appeal was denied by the Tennessee Supreme Court and the U.S. Supreme Court, the father filed a motion to vacate or modify the 2014 ruling of the trial court. After the trial court denied the relief requested, the father again appealed. We affirm the trial court’s decision.            
                      
              Knox County            
                      
              Court of Appeals             
                      
              06/13/18            
                      
                          
                      
                          
                  
                        
                      
              Town &amp; Country Jewelers, Inc., et al. v. Andrew Timothy Sheriff, et al.W2017-01375-COA-R3-CVAuthoring Judge: Judge W. Neal McBrayerTrial Court Judge: Chancellor Jim KyleOver ten years after entry of a judgment, the judgment creditors filed a motion for scire facias to revive the judgment. The trial court denied the motion based on a determination that expiration of the statute of limitations deprived the court of subject matter jurisdiction. On appeal, the judgment creditors argue that their motion was timely because the debtor revived the debt by agreeing that the debt was nondischargeable in bankruptcy. We conclude that the trial court possessed subject matter jurisdiction but that revival does not apply. So we affirm as modified.            
                      
              Shelby County            
                      
              Court of Appeals             
                      
              06/13/18            
                      
                          
                      
                          
                  
                        
                      
              Clayton Pickens v. John R. Underwood, et al.E2017-02120-COA-R3-CVAuthoring Judge: Judge D. Michael SwineyTrial Court Judge: Judge David Reed DugganThis appeal arises from a dispute over a construction contract between Clayton Pickens (“Pickens”), a general contractor, and John R. Underwood (“Underwood”) and his wife Suzanne Curtin (“the Underwoods,” collectively). Pickens sued Underwood initially in Chancery Court but later transferred to the Circuit Court for Blount County (“the Trial Court”) for allegedly failing to pay him under a contract to build the Underwoods’ home. Underwood filed counterclaims against Pickens alleging, among other things, fraud, cost overruns, violation of the Tennessee Consumer Protection Act, and entering into a construction contract in excess of the monetary limit on Pickens’ contractor’s license. This case was tried before a jury. The jury found the Underwoods breached the construction contract and awarded Pickens $147,340.25. The jury also found that Pickens breached the contract through certain errors in construction and awarded the Underwoods $10,740.00. The Trial Court entered its final judgment affirming the jury’s verdict and awards of damages. The Underwoods appeal, arguing in part that Pickens should have been limited to his actual documented expenses because he entered the construction contract in excess of his contractor’s license limit. We hold, inter alia, that under the law in effect at the time of the execution of the contract, Pickens was not limited in damages to his actual documented expenses. We affirm the judgment of the Trial Court.            
                      
              Blount County            
                      
              Court of Appeals             
                      
              06/12/18            
                      
                          
                      
                          
                  
                        
                      
              Johnson Real Estate Limited Partnership v. Vacation Development Corp., et al.E2017-01774-COA-R3-CVAuthoring Judge: Judge John W. McClartyTrial Court Judge: Judge Telford E. ForgetyThis action involves a long-term ground lease in which the defendant lessee paid for and maintained an insurance policy on the property for its benefit. The defendant surrendered the premises after the motel facility constructed on the land was destroyed by a wildfire before the expiration of the lease. The plaintiff lessor filed suit, seeking an equitable lien on the policy and its proceeds, a constructive trust against the insurance rights and recovery, a claim on the policy as a third-party beneficiary, and injunctive relief. The court granted summary judgment in favor of the defendant. We affirm.            
                      
              Sevier County            
                      
              Court of Appeals             
                      
              06/12/18            
                      
                          
                      
                          
                  
                        
                      
              Regions Mortgage, et al. v. Joseph Willie Brown, et al.W2017-00605-COA-R3-CVAuthoring Judge: Presiding Judge Frank G. Clement, Jr.Trial Court Judge: Judge Jerry StokesThis appeal arises from a marathon of litigation, as many as eleven separate civil actions, all of which pertain to the defendants’ former property in Eads, Tennessee that Regions Mortgage, Inc. (“Regions”) purchased at a foreclosure sale in 2013. See Brown v. AmSouth Bank, No. W2016-02596-COA-R3-CV, 2018 WL 1319169, at *1-2 (Tenn. Ct. App. Mar. 14, 2018). At issue here is the grant of a writ of possession to Regions by the General Sessions Court of Shelby County in a forcible entry and detainer action, which decision the defendants appealed to the circuit court. When the circuit court dismissed the appeal for lack of subject matter jurisdiction, the defendants appealed to this court. Due to profound deficiencies with the defendants’ brief, specifically the failure to comply with Rule 6 of the Rules of the Court of Appeals of Tennessee, we dismiss the appeal.            
                      
              Shelby County            
                      
              Court of Appeals             
                      
              06/11/18            
                      
                          
                      
                          
                  
                        
                      
              Cornell Poe v. City of Jackson Mayor Jerry Gist, et al.W2017-00465-COA-R3-CVAuthoring Judge: Judge Richard H. DinkinsTrial Court Judge: Judge Kyle AtkinsA passenger on a Jackson Transit Authority bus was arrested as a result of an altercation with the driver; the arrest led to the passenger’s parole being revoked and his resulting incarceration. The passenger brought suit, asserting claims for slander and libel under the Tennessee Governmental Tort Liability Act and Tennessee Public Protection Act against the Transit Authority and certain of its employees, and the Mayor and various employees of the City of Jackson. The trial court granted summary judgment in favor of the defendants, and this appeal followed. Upon our review, we have determined that the complaint fails to allege causes of action under the Governmental Tort Liability Act and the Public Protection Act, and that the causes of action asserted against the individual defendants are barred by the statute of limitations. Accordingly, we affirm the judgment of the trial court dismissing the case.            
                      
              Madison County            
                      
              Court of Appeals             
                      
              06/11/18            
                      
                          
                      
                          
                  
            


      
    
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